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 7

 8                               UNITED STATES DISTRICT COURT

 9                                      DISTRICT OF NEVADA

10   UNITED STATES OF AMERICA,              )
                                            )
11                  Plaintiff,              )
                                            )
12         v.                               )       2:09-CR-477-KJD (RJJ)
                                            )
13   GAIL BILYEU,                           )
                                            )
14                  Defendant.              )
       THE UNITED STATES OF AMERICA’S UNOPPOSED MOTION TO EXTEND THE
15      TIME TO REPLY TO BILYEU’S OBJECTIONS TO PRELIMINARY ORDER OF
                               FORFEITURE (DOCKET #44)
16                                  (First Request)

17           The United States of America (“United States”), by and through Daniel G. Bogden, United

18   States Attorney for the District of Nevada, and Daniel D. Hollingsworth, Assistant United States

19   Attorney, respectfully moves this Honorable Court for an Order to extend the time for the United

20   States to reply to Bilyeu’s Objections to Preliminary Order of Forfeiture (Docket #44) pursuant to

21   Fed. R. Crim. P. 45(b)(1) and LCR 45-1. The United States’s Reply is scheduled to be filed on

22   August 3, 2010, and the Forfeiture Hearing is scheduled for August 11, 2010, at 9:00 A.M. #35.

23           The United States requests an extension of time because the United States needs the

24   Presentence Investigation Report to fully respond to Bilyeu’s arguments in her Objection (#44).

25           The grounds for extending the time are as follows.

26   ...
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 1              The sentencing was continued because probation needed more time to prepare the

 2   Presentence Investigation Report. The United States consistently uses the Presentence Investigation

 3   Report to address the objections and arguments to forfeiture. Without the Presentence Investigation

 4   Report, the United States cannot fully respond to Bilyeu’s arguments. As soon as the Presentence

 5   Investigation Report is completed and given to the Asset Forfeiture Assistant United States Attorney

 6   (“AFAUSA”), he will need two weeks to prepare the Reply to Bilyeu’s arguments.

 7              On or about July 26, 2010, the AFAUSA called the Federal Public Defender’s Office

 8   (“FPDO”) and requested to speak with opposing counsel, Assistant Federal Public Defender

 9   (“AFPD”) Brenda Weksler. The FPDO told AFAUSA that AFPD Weksler would not be back to the

10   office until Monday, August 2, 2010, but if the AFAUSA left a message with AFPD Weksler’s

11   assistant, she could call AFPD Weksler to see if she would agree to the extension of time. The

12   AFAUSA left the message on the voice mail of AFPD Weksler’s assistant. On July 29, 2010, the

13   AFAUSA contacted AFPD Rene Valladeres who called AFPD Weksler, who agreed to the extension

14   of time.

15              This Court should grant an extension of time, pursuant to Fed. R. Crim. P. 45(b)(1) and LCR

16   45-1.

17              DATED this 29th day of July, 2010.

18                                                          DANIEL G. BOGDEN
                                                            United States Attorney
19
                                                            /s/DanielDHollingsworth
20                                                          DANIEL D. HOLLINGSWORTH
                                                            Assistant United States Attorney
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22

23                                                          IT IS SO ORDERED:

24

25                                                          UNITED STATES DISTRICT JUDGE

26                                                          DATED: 8/03/2010
                                                                  Nunc Pro Tunc
                                                        2
